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 4   Los Angeles, CA 90025
     Telephone: 310-909-8000
 5   Facsimile: 310-909-8001
 6   Attorneys for Defendant HARRIS & HARRIS, LTD.
 7

 8                        UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10   RENATAKING,                                           '15CV1187
                                                   CaseNo. _  __ _   GPC
                                                                      _ BGS
                                                                         __
11                                                 (Assigned to the Honorable
                 Plaintiff,
12                                                 ------Courtroom "_")
           vs.
13                                                 DEFENDANT'S NOTICE OF
     HARRIS & HARRIS, LTD.,                        REMOVAL OF CIVILE ACTION
14                                                 PURSUANT TO 28 U.S.C.
                 Defendant.                        SECTIONS 1331, 1441 AND 1446
15                                                 fSUBJECT MATTER
                                                   JURISDICTION]
16
17                                                 Removal Filed: May 28, 2015
18
19
20         TO THE CLERK OF THE ABOVE-ENTITLED COURT:
21         PLEASE TAKE NOTICE THAT pursuant to the provisions of 28 U.S.C.
22   sections 1331, 1441(a) and 1446(b), Defendant HARRIS & HARRIS, LTD.
23   ("H&H"), hereby removes to this Court the state action currently pending in the Los
24   Angeles County Superior Court of California, described more fully below:
25         1.    On April 9, 2015, a civil action was commenced in the Superior Court
26   of the State of California, in and for the County of Los Angeles, entitled Renata
27   King v. Harris & Harris, LTD. , as case number 15K04218. True and
28                                            1
                 DEFENDANT'S NOTlCE OF REMOVAL OF CIVIL ACTION PURSUANT TO
                              28 U.S.C. SECTIONS 133 1,1441 AND 1446
                                                                             31594673v I 0966836
Case 3:15-cv-01187-GPC-BGS Document 1 Filed 05/28/15 PageID.2 Page 2 of 22




 1   correct copies of all pleadings, process and orders in said action served upon H&H
 2   are attached hereto as Exhibit "A" and incorporated herein.
 3         2.     Defendant H&H's registered agent was personal1y served with a copy
 4   of the summons and complaint between April9, 2015 and May 19, 2015.
 5         3.     In light of its pendency in Los Angeles County, the United States
 6   District Court for the Cental District of California, Western Division, is the proper
 7   forum for removal under the provisions of28 U.S.C. sections 84(d) and 1441(a) and
 8   1446(b).
 9         4.     This Notice of Removal was filed within thirty days of service of the
10   complaint upon Defendant and one year of the commencement of the action. It is,
11   therefore, timely under 28 U.S.C. section 1446(b).
12         5.     The complaint purports to allege a federal cause of action against
13   Defendant for purported violations of the Fair Debt Collection Practices
14   ("FDCPA"), 15 U .S.C. §§1692 et seq.
15         6.     This action is one over which this Court has original jurisdiction under
16   28 U.S.C. § 1331 and may be removed to this Court pursuant to the provisions of28
17   U.S.C. sections 1441(a) and 1446(b) in that it is a civil proceeding over which the
18   district courts have original jurisdiction as a claim arising under the laws of the
19   United States, the FDCP A, 15 U.S. C. § § 1692 et seq.
20         WHEREFORE, Defendant hereby notifies Plaintiff Renata King by and
21   through her attorneys that the above-entitled action, formerly pending in the Los
22   Angeles County Superior Court has been removed from that court to this Court.
23   Defendant prays that this Court will make any and all orders necessary to effect the
24   removal ofthis cause from the Court of the State of California for the County ofLos
25   III
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                  DEFENDANT'S NOTICE Of REMOVAL OF CIVIL ACT ION PURSUANT TO
                               28 U.S.C. SECTIONS 1331,1441 AND 1446
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Case 3:15-cv-01187-GPC-BGS Document 1 Filed 05/28/15 PageID.3 Page 3 of 22



 1   Angeles and to effect and prepare in this Court the true record of all proceedings
 2   that may have been had in the said state court proceedings.
 3
 4
 5   DATED: May 28, 2015                          HINSHAW & CULBERTSON LLP
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                                            By: s/Aji N. Abiedu
 7                                              Aji N. Abiedu
                                                }\ttor11~s for Defendant HARRIS &
 8                                              HARRIS, LTD.
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                 EXHIBIT A
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                        RENATA KING                                                                                                     By Anaballa Figueroa, Deputy

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                                                                                                                                                            Exhibit A- Page 6
Case 3:15-cv-01187-GPC-BGS Document 1 Filed 05/28/15 PageID.8 Page 8 of 22




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   .                Renata King v. Harris & Harris, Ud.
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                                                                                                                  CAS~ riUMB~R



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    LACIV 109 (Rev 03/11)                               CIVIL CASE COVER SHEET ADDENDUM                                                        Local Rule 2 0
    lASC ApprPvlld 03·0~                                   AND STATEMENT OF LOCATION                                                             PagD2 Of 4




                                                                                                                                           Exhibit A - Page 7
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   s•mRTT•TLe                                                                                                       CASE NVI.WLR
       .        Renata King v. Harris & Hartis. Ltd.

                                A                                                                         9                                                     c
                     Civil Oa!e Cover Sheet                                                        Type or Acllon                              Appllcablo Roasons •
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                                                      D A6030 Declaratory Relief Only
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                     (Nol Spoclfted Above)           [J    A<l190 l:ioc.toon Conies!                                                           2.
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    LAC IV 109 (R'!V 03/11)                          CIVIL CASE COVER SHEET ADDENDUM                                                        Local Rule 2.0
    LASC Approved 03-04                                 ANO STAT!;MENT OF LOCATION                                                            Page 3 of 4




                                                                                                                                         Exhibit A- Page 8
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          ·:   ······..... .




                     Renate King v. Harris & Harris, Ltd.




    . . . ___
     Item Ill. Statemenl of Location: Enter the ad(fress of lhe accident, party'$ residence or place o'fbusiness, perform11nce, or other
     circumstance Indicated In Item II., Step 3 on P119e 1, a1r the proper reason for filing In the court location you selected.
                ~




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        EASO~; ChMk tho al't)roprlato bo~I'.O     tor tho nttmbora ~ hQWn                 1G27 Camulos Ava
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               U 1, U<!. [f)3. !.::4 ::-15 f J6. 07. C8. ~J9. :J10.
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     • CITY                    _______...
                                                 .. - .             01208
                                                                                   ___,


     ltem IV, Dac:laratron of Assignment· I declare unoer p!lna lty or pElfltHY under the laws of the State of California thtJt thfr foregoing Is tru~
     and correc; and that the abovc-enilt\ed matter I~ properly filed for a~signrnent to \he Stanley Mosk                         courthouse in _,.tt\a
      Central                  • Oistnct of the Superior Couti of califomla, Counly of Lo&' Angales[CocJe Civ f'roc., '392 et seq., a d't'ocal
     Rule 2 0, subds. (b) (a) afld (d)!.




     Dated: April<!, 2015
                                                                                                         (SIGNAT\JR~   OF 1\r'(OR~~Yif iLING PARTY!




     PLEASE HAVE 'rHE FOLLOWING ITEM$ COMPLETE-D AND READY TO BE FILED IN ORDt:R TO PROPERLY
     COMMENCE YOUR NEW COURT CASE:

          1. Original Complaint or Petition.
          2, If filing a Complaint, a oQmpleted Summons form for Issuance by the Clerk.
          3.      Civil Case Cover Sheet, Judicial Council form CM-010.

          4.      Civil Casa Cover Sheet Addendum and S!atemenl of Locatton form, LAC IV 109, LASC Approved 03-04 (Rev.
                  03/11).
          5.      Payment In full of the ftllrtg fea, Ul'!less fees IH.IVe been w<Jived.
          6. A signed order ilPPOinting the Guardian ad litem. Judlciul Council form CIV-01 0, If !he plaintiff or petitioner Is a
             minor under 18 years of age wlll be required by Court in order to issue a summons.
          7       Addition Ill copi~s of document$ tp ba conformed by the Clerk. Copies of the cover sheet and this addendum
                  must be served along with (he summon& and complaint, or other Initiating pleading In the co~~se.




    LAC IV \ 0!) (Rev. DJ/11)                   CWILCASECOVERSHEETADOSNDUM                                                                      l..ocal Rule 2.0
    LASC i\l)proved 03·04                         AND STATEMENT OF LOCATION                                                                           Page 4 of 4




                                                                                                                                         Exhibit A- Page 9
Case 3:15-cv-01187-GPC-BGS Document 1 Filed 05/28/15 PageID.11 Page 11 of 22

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                  :l    Law Offices of 'l'c>dd M. Friodnum, P ,C,
                        3Z4 S. Beverly Dr. #725
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                                                   SUPBlUOR COURT OF THE STATE OF CALIFORNiA
                 I (I                                    fl'Ol~ T.Hlt COUNTY OF LOS ANGELES
                                                                 LIMITED JURlSDlCTTON
                 II

                 ll
                                                                                         ) Case No.
                                                                                         )
                                                                                                                     15K04218
                 I)                                                                      )
                        RENATAKING~                                                      ) (Amoun-t U-(lt to exceed $1 01000)
                 14                                                                      }
                 15     Plaintiff,                                                       )         1. Violntion of Rosenthal Fair Debt
                                                                                         )            Collection Practices Act
                 IIi                vs.                                                  )         2. Violation of Pair Debt CoJlectlon
                                                                                         )            Practices Act
                 17                                                                      )         3, Violalion ofTt~lephone Consumer
                        HARRlS & llA!t1US, LTD.,
                 I~
                                                                                         )            Prulection Act
                        Defendant.                                                       )
                 JC)                                                                     )
                                                                                         )
                 20
                                                                                         )
                 21
                        --~------~------------ )
                                                                           r.   INTRODUC'flON
                 '23                I. This is an ilctioJtlo'· dnm!tgcs brought by an indiv!clual consumer tor D<lfcltdanl's
                 2•1
                        violations of fhe               Ro~enthal   Fair Debl Collection Practices Act, Cal Cl\1 Code § 1788, et S11q.
                 2:5
                        (h¢r~ln~ftcr       ''RFDCPA'') and the Fair Debt Collecth:m Prucllccs Act, IS l.J.S.C. § 16~, el seq.
                 U>
                 'J.?   (herelnaner "FDCJ>A"), both of which prohlbll debt collectot-s from engaging in abusive,

                 2lf    deceptive, and unft~i1' practices. Ancillary               lo   the claims ~bovc, Plaintiff further alleges clnim:r



                                                                                   Compfuint - I



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.;·~;,:.~ .: .            . .   .   '       .. .            .          .    :. .                                            .                          .



                                                                                                                                 Exh ibit A- Page 10
Case 3:15-cv-01187-GPC-BGS Document 1 Filed 05/28/15 PageID.12 Page 12 of 22




          for Defendant's violations of tht! Telephone Consumer Protection Act., 47 U.S.C. §227, et .wq.

          (hereinafter "TC PA ").

                                                    II. PAIH'JES

                  2.       Plaintin~ Ren~tlt   King ("'Piaintil'l''), is a nnturul person residing in Los   An~e l es

     (I   County in the sUJtc of California, und is a "connumcr'' us dclinc<l by the FOCPA, 15 U.S.C.
     7    §I 692a(3) and is a "dcbltJr" as de lined by Cui Civ Code§ 1788.2(h).

                  3.       At all rclcvan! times herein, Dcf'endunt, Harris & Harris, Ltd. ("Oefcndonl")
     'I
          was a compnn:,• engaged, by use of the mails and telephone. in the business of collecling a debt
    10
          from Plaintit'J'which quatilil!s ns a ··debt," as deJincJ by 15 U.S.C. §l692a(5), and a ''con~umer
    II

    12    debt."' as defined by Cal Civ Code § !788.2(f). Odcndant regularly uttcmpt:; to collect debts

    I~    ntlcged to be due nM!hcr, und ther~l<lre is a ··debt ~;nllcctor" U!> de tined by Lhc FDCP /\, I 5
    ~~
          U.S. C. ~ 1692a(6), and RFOCPA, Cui Civ Code                    *1788,:2(c).   Further, Defendant uses un
    I.S
          "uulnmutic lclephon~ dialing system'' as ddincd by the TCPA, 47 U.S.C. §227.
    I(>

    I!                                    HI. FACTUAL ALLEGATIONS

    I~            4.       At various and multiple times prior to the filing of the instant complaint .
    II)
          induding within thl! one yeur preceding the 111ing ot' this              compl~int.   Defendant contacted
    211
          Plaintiff in an attempt to collect nn ullegcd outstnnding dcht.
    :!I
                  5.       On or about Septembel' of2014. Defendant numerously calling Plaintiff
    22
          regarding ~n alleged outstanding debt on Pluinti!rs cellulur telephone number ending in -3978,

    24    The cnlls from Dcfcndunt were so numerous, frcquctll :md repetitive thut l)lnintlfffelt hnt'nssed
    2.5
          by said calls. The number, pat1ern and jrequency nl'calls t<l Plnintiffalso evidences Defendant

          to harass Pluintill'.
    27




                                                          t'nmplnlnl- l




                                                                                                   Exhibit A- Page 11
Case 3:15-cv-01187-GPC-BGS Document 1 Filed 05/28/15 PageID.13 Page 13 of 22

·:   ... ...... . . . ., ... -     ,.




                             6.               1\dd\lionally, Defendant hns failed to sent or otherwise produce to Plaintiff the

                   required notlcc1\ pursuant to \Sli .S.C. Section 1692g.

                             7.               On January 26. 2015, Plninriffs cotmsd sent a written notii,':C of representation.

                   Defendant has failed to respond at this time.

                             8.               Defendant used an "automutic telephone dialing system'\ as defined by 47

              7    U.S. C.§ 227(a}(l), to place its repeated collection calls to Plaintiff seeking to collect the debt
              8
                   allegedly <,)wed.

                             9,               Defendant's calls constituted calls that were not for emergency purposes as
            10
                   defined by .f7 U.S.C. § 227(b)(lj(}1).

                                 10.          Dcfendanrs call~ were placed to telephone HUmber assigned l.o a cellular
            12
                   telephone scrvlce for which Plaintiff incur               11   charge for intoming calls pursuant to 47 U.S. C.
                   §227rh)(l).
            I~
                                 l I.         !Juring aH rdcv.ant times, Defendant did not have Plaintifrs prior consem to be
            IS
                   contacted via             a11   "automated telephone dialing system".
            16
                                 12.          D.ct'endanrs conduct violated the FDCPA and the         RFDCP.~   in multiple ways,
            17

            IK
                   including but not limited to:

            19
                                        a)    C-ausing a tt:lephonc to ring repe~tedly or colltinuously to annoy
            l ()                              I>laintiff(Cal Civ Code§ 1788.ll(ct));
            21
                                        b) Communicating. by telephoilC or In person. with Plainti ff with
            22                             such frequency as to be unreasonable and to constitute <lll
                                           harassmeht to Plainllff' ilnder the circumsrancos (Cal Civ Code §
            2)
                                           1788. l 1(e));

                                        c) Causing Pl<lin tiffs telephone to ring repeatedly or continuously
            25                             with intent to harass. annoy or nbuse Plalnt1ff (§ 1692d(5)):
            lll
                                        d) Communicarlng with PlaintitT at times or places which were
            27                             known or sho uld have been known to be inconvcnlent for
                                           Plaintiff(§1692c(a)(l)): ·
            :!II




                                                                           C'omph1i1\l • J




                                                                                                                Exh ibit A- Page 12
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                         c) Failing to provide Plaintiff with the notices required by 15 USC§
                            t692g, either in Lhe initial communication with Plnintlft~ or in
     2
                            writing within 5 days thereof 1692g(a)); and

                         t) Engaging in cond)lC( the natural consequence of which is to
                            hnrass, oppress, ot· abuse Plnin1iff (§ 1692d)),


     6             13.      Defendant's c:onduct violated rhe TCPA by:

                         a) using any automatic telephone dialing System or an artificial or pre·
                            recorded voice to any telephone num·bcr assigned to u paging service,
                            cellular telephone service, specialized mobile radio service. or otht!r
                            radio Cl)mmon carrier service, or any service for which the called palty is
                            charged for the call (47 USC §227(b)(A)(iii)).
    10

    ll
                   14.      As a result of tl1e above violations of the FDCPA, RFDCPA, and TCPA,
    12

    13
           Plaintiff suffered and continues to suffer injury to Ph1intitrs feelings, personal humiliation,

     I~    embmTassment, mental anguish and emotional distress.              Plaintiff hns even had to resort   to
     I~
           taking sleeping pills becuuse of the telephone calls.            Del'endant is liable to Plaintill' for
    lh
           Plaintifls actual damages, stawtory damages, nnd co:;ls and attomcY,'s Ices.
    17
                                      COUNT 1: VlOLATlON OF ROSENTHAL
    IS
                                    FAJR DE.UT COLL.ECTJON PRACTiCES ACT
    I I)
                   15.      Plaintiff reincorport~tes by reference all of rhe preceding paragraphs.
    211
                   16.      To the extent that DefendMt's actions, t•ounted above. violated the RFDCPA,
    21

           tho:>c actinns were done knowing!;· and willfully.

                                                 PnA VER FOR lU~LlEF
                  WHEREFORE, Plaintiff respectfully prays that judgment be entered ~~gains! Detendanl

           for the following:
    :u.
    27                      A.      Actual damages;

    28                      B.      Statutory damag~s for willful and negligent violations;
                            C.      Costs and reasonable altomey's fees,


                                                         Culllplullll- ·I




                                                                                               Exhibit A- Page 13
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                                 . ...
                                 ,       \   ,.




                          D.         For such othel' and rurtbel' relief as may be j\lst und ptoper.

                                         COU~T       II: VIOLATION OF FAIR mmT
                                                                                                                           I
                                                  COLLECTION f'RACTICES ACT

                   17.    Plaint( ff reincorporates by reforcncc all of the proccding paragraphs.
                                                                                                                           I:
                                                                                                                           i.
                                                      PRAYF.R FOR RELIEF                                                   \
                                                                                                                           i   !
     6
                  WHIJREFORE. Plait1tiff respcctf'\.tlly prays Lhat judgment be entered against Def'endant

          for the tollowing:

                          A.         Actual damages;                                                                       I
    l(j                   B.         Statutory damages;                                                                    I
    II                    c.         Co~ts and      reasonable unorney' s fees; Elnd.                                      I
                                                                                                                           I   •

                                                                                                                           !I .'
                                                                                                                           .   I
    12                    D.         For ·Such other ond further r~lkr os may be j ust und pt·opcr.
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                                                                                                                           l I

                                     £0UNT m, VIOLATION Oll' TELEPHONE CONSVMEn                                            l;
    14
                                             PROTECTION ACT                                                                'I'
                                                                                                                           I'

    15
                                                                                                                           i:
                  18.     Pl~inti ff incorporates by refe~ence       all of Lhe preceding paragraphs.
    !6                                                                                                                     I:
    17
                  19.     The foregoing ucls and omissions. of Defendant constitute                     numero~s   and
                                                                                                                           I.
          mult iple negligent violations of the TCPA, incl\1diog            b~1t   not limited to each and every one of    I


    IH
          the above ched provisions of -17 U.S.C. ,,,. 227 et seq.
    19
                  20.     As o result of Defendant's negligent violations of ·17 U.S.C. § 221 el S{!q.,
          Plaintiff is entitled un award or $500.00 in statutory damuge.s, for each and every violation,
                                                                                                                           I
    21
          pursuant to -1.7 U.S.C .§ 217(/J)(J)(B}.
    12
                  21.     1 he foregoing acts and omissions of Defendant constitute numerous and

          multiple knowing und/or willful violations or the TCPA, includin8 but not limited to each and
          every one of'thc nho\'e cited provisions of .J7 U.S C. § 22i er ,\'eq.
                  22.     As a re-sult of Defendant's knowing nnd/or willful violations of ¥7 U.S. C. § 227
    26
          er Sl!lf., Plaintiff is entitled an award of $1.500.00 in statutory damages, tor each nnd every
    27
          violation, pur·suant to./? U.S.C. § 227fb}(3.J(B) and .f7 (/.S.C.§ 227(b)(3)(C).
    2H
                  23 .    Plaintiff is entitled ro n11d seek injunctive relief prohibiting suc l1 conduct in the



                                                             l'omphtmt- ~




                                                                                                      Exhibit A- Page 14
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.. ·· . ·....   '   ,.




                                 future.
                           2                                          PRA VER FOR RELIEF

                                           WHEREFORE, Plaintiff respectfully prays that Jtldgment be entered against the

                                 Defendant for the following:

                                              1\. A!> a result of Defendant's negligent violations of -17 U.S. C. §227(b)(l ).
                                                 Plaintiff is entitled to nnd requests $500 in ~tatutory damages, Co1· each
                                                 and every violution, pursuant to -1 7 U.S.C 227(b)(l)(B) ;

                                              13. As a result of DeJ~ndant 's willful and/or knowing violations of 47 U.S. C.
                           I)
                                                  P27(h}( I), PlaintilT is entitled lo and requests ·treble damages, as
                                                  provided by slatute, up to $1,500, for each and every violation. pursuant
                         I ll                     to-/'! U.S. C. §227(b)(3}(BJ and 47 U.S.C §227(b)(3)(<..); qnd

                         II                   C. Any ond all other relief that the Court deems just and proper.




                         '"
                         IS
                                                                          By:
                         16
                                                                                  Todd M. Friedman, Esq.
                         11                                                       Law Office:; of Todd M. Friedman, P.C,
                                                                                  Attorney fot· Plaintiff
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             211       se...tey Motk Courtboolo. ll t N<lth Hill Street, Loa~ CA 90012:

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                                                                                                       Exhibit A - Page 16
Case 3:15-cv-01187-GPC-BGS Document 1 Filed 05/28/15 PageID.18 Page 18 of 22




             trial date 'Will be_continued to a later date If ~ervlcc i3 not aCCQrnp!isbcd withirt six (6)
    2         months. The parties- may stipula~ to keep the origlool triaJ date cyen it scrvic:~ of tilt
    J         IUtt1D\OilS and complaint is not corupl~ within six((;) months of the ftUng otthe ori&inal
    .           t<IQlplalnt,

                         4.         The swnmons and complaint llball ba served upon the defendtullls wlthln
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                 B\ ygu atwc 1M complaint 11 filed ln una action. (Code Ci1. Proc•• § S83.2l o. subd. <•>·>
        a Fllibft to tomply'WiU t'ea\llt in diasnbsal, witmut prejudice, oftbo action, as to all unserved
        9          pezties wbo bavc not bcea dlaanlaed es of thd date. (Cockt Civ. Proc., f.S81, tubd. (bX4).).
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            lilt                                          LAW AND MO'flON
            21                 6.     All~ nodcod pro-trill motioal will be beard 1ft~ 71 Od

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                                                             '   • ' ' ' •' ' • ' , .   •   '   ' ' '   '   ~   I




                                                  EX PARTI APPLICATIONS .
                                                     '
 1                   8.            Sx l*fe applications should be uoUetd for 1:90 p.m. in Department 77. AJI

  J            applications muat be filed by 1:00 p.m. in Room 102 of the Stanley Mw Caur1houac.
  4
                                                         JURYrEIS
                      9.           The leo ahal1 be due no later than 365 ~days after tbc filing of the
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  1
               initiisl complaint (CodcCiv. Proc •• § 63l,tubds. (b) .00 (e).)

      •                                      S'l"'PUUATJON TO COfft'JNUI'J'RIAL
      t                10.          A trial will be po.ttpoaecl frllJ ~Yt of~ atltd/or the pu1fes who have

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      II
                tHed .la1 than tlve (5) eourt daya before bs ICheduled trill dat.e.lhesla coumssy copy of the
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      ll        lltipaJatiuD mUll bo filed ba ~ 11. 1'lu! Jtipuladon and order sbould be Bled In
      •• Raorn 102 oftbo St.Plcy Mmk ~ widl the reqWcd. ft.lina feea. (Code Clv. Ptoc.• J
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                 S9$.210d GeM. Code t 'IO(;t1.1Ubd. (c)(2).)
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                           II.       Ptrtiel~ to appear onlbe lllaldlte rudy to                             ao to trial. lad mu.tt meet lnd
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                             ii.     MotioN in lJmlnc!, wbkh lllJd bo ICI'Wid lad flied iu IC40~ with tht
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                      v.    1oint Propo~ J\U')' Inatntctians printed out for the~ and
:t                    vi.   Joint PropOSed Verdict fotm(s) pdnte<l out fat the GQ\Ut

l                    12.    FAILURE TO COMPL\' WlTll ANY UQtJlUM.INT SIT POR111
4
              IN PARAGRAPH 11 ABOVE MAY USULT IN SANC110NS Oil THE VACATING
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               Oli'TD TRIAL DATE. (Lcl Anploa SupetiGf Court~ Rule 3J7.)
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  1                              CERTIFICATE OF SERVICE
  2                          Renata J(ing v. Harris & Harris, LTD.
  3                               Case No. - - - - - - -
 4               STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 5           I am a citizen of the United States and employed in Los Angeles, California,
      at the office of a member of the bar of this Court at whose direction this service was
  6   made. I am over the age of 18 and not a party to the within actions; my business
      address is 11601 Wilshire Blvd., Los Angeles, Califmnia 90025.
 7
 8          On Mar 28, 201~\ I served the document(s) entitle9,..j?EFENDANT'S
      NOTICE OF REMOVAL OF CIVILE ACTION :PURSUru~ 1 TO 28 U.S.C.
      SECTIONS 1331, 1441 AND 1446fSUBJECT MATTER JURISDICTIONL on
 9    the interested parties in this action by placing trust copies thereof enclosed m a
      sealed envelope(s) addressed as stated below:
10
11                            SEE ATTACHED SERVICE LIST

12
      [8] (BY MAIL):      I deposited such envelope in the mail at Los Angeles, California
      w1th postage fully prepaid. I am readiry familiar with this firm's practice of
      collection and processing correspondence tor mailing. Under that practice it would
13    be placed for collection and mailing, and deposited with the U.S. Postal ServiCe on
      that same day with postage thereon fully prepaid at Los Angeles, California, in the
14    ordinary course of 5usiness. I am aware that on motion of party served, service is
      presumed invalid if postal cancellation date or postage meter date is more than 1 day
15    after date of deposit for mailing in affidavit.
16    D (VIA OVERNIGHT MAIL): I am "readily familiar" with the firm's
      practice of collection and processing correspondence for overnight delivery. Under
17    that practice it would be deposited in a box or other facility regularly maintained by
      the express service carrier, or delivered to an authorized courier or driver authorized
18    by the express service carrier to receive documents, in an envelope or package
      designated by: the express service carrier with delivery fees paid or provided for,
19    addressed to the person on whom it is to be served, at tlie office address as last given
      by that person on any document filed in the cause and served on the party making
20    service; otherwise at that party's place of residence.
21    n  (BY ELECTRONIC MAIL):               By transmitting a true copy thereof to the
      electronic mail addresses as indicated below.
22
23
      D (BY FACSIMILE): By transmitting an accurate copy via facsimile to the
      person and telephone number as stated.
24    rxl (BY CM/ECF SERVICE): I caused such               document(s)    to   be   delivered
      electronically via CMJECF as noted herein.
25
            I declare under penalty of pe1jury under the laws of the United States that the
26    above is true and correct and was executed on May 28, 2015, at Los Angeles,
27    California.                                 ~ ~
28                                               Robin Mojica
                                                 1
                                      CERTIFICATE OF SERVICE
                                                                                31594673v l 0966836
Case 3:15-cv-01187-GPC-BGS Document 1 Filed 05/28/15 PageID.22 Page 22 of 22



  1                                SERVICE LIST
 2                       Renata King v. Harris & Harris, LTD.
 3                           Case No. - - - - - - -
 4
      Todd Friedman (SBN 216752)                    Attmneys for Plaintiff RENATA
 5    Suren N. Weerasuriya (SBN 278521)             KING
      Adrian R. Bacon8SBN 280332)
  6   LAW OFFICES F TODD M. FRIEDMAN
      324 S. Beverly Drive, Suite 725
 7    Beverly Hills, CA 90212
      Phone: (877) 206-4741
 8    Facsimile: (866) 633-0228
      Emails:
 9    tfriedman@attomeysforconsumers.com;
      sweerasunya@attorneysforconsumers.com;
10    abacon@attorneysforconsumers.com
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